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                                                                         EL,:;,CTRONlCALLY FILED
                         IN THE UNITED ST ATES DISTRICT COUR             DOt' .... ___       ::5
                       FOR THE SOUTHERN DISTRICT OF NEW YO                  n ::nLr-,):~ [ - d


    MARVEL CHARACTERS, INC. ,                     Case No.: 1:2 l-cv-7955-LAK
                                                  and consolidated cases
                          Plaintiff,              21-cv-7957-LAK and 21-cv-7959-LAK

           V.

    LA WREN CED. LIEBER,

                          Defendant.

    LAWRENCE D. LIEBER,                            JOINT STIPULATION AND
                                                   Wft8t"86EBtORDER REGARDING
                          Counterclaimant,         PRETRIAL SCHEDULE

           V.

    MARVEL CHARACTERS , INC ., and DOES
    1-10, inclusive,

                       Counterclaim-Defendants.

    MARVEL CHARACTERS , INC. ,

                          Plaintiff,

           V.

    PATRICK S. DITKO, in his capacity as
    Administrator of the Estate of Stephen J.
    Ditko,

                          Defendant.

    PATRICK S. DITKO, in his capacity as
    Administrator of the Estate of Stephen J.
    Ditko,

                          Counterclaimant,

           V.

    MARVEL CHARACTERS, INC . and DOES
    1-10, inclusive,

                       Counterclaim-Defendants.
        Case 1:21-cv-07955-LAK           Document 66      Filed 05/01/23     Page 2 of 4
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    MARVEL CHARACTERS, INC. ,

                         Plaintiff,

           V.

    KEITH A. DETTWILER, in his capacity as
    Executor of the Estate of Donald L. Heck,

                         Defendant.

    KEITH A. DETTWILER, in his capacity as
    Executor of the Estate of Donald L. Heck

                         Counterclaimant,
          V.

    MARVEL CHARACTERS , INC. and DOES
    1-10, inclusive,

                      Counterclaim-Defendants.


                                           STIPULATION

          Plaintiff and Counterclaim-Defendant Marvel Characters, Inc. ("Marvel") and

Defendants and Counterclaimants Lawrence D. Lieber, Patrick S. Ditko, and Keith A. Dettwiler

(collectively, the "Parties") stipulate as follows:

          WHEREAS, for the above three referenced cases (which have been consolidated for

pretrial purposes), the Court ordered that motions for summary judgment are due on or before

May 5, 2023 ; 1

          WHEREAS, the Parties all intend to file cross-motions for summary judgment;

          WHEREAS, Defendants-Counterclaimants' counsel, Marc Toberoff, is scheduled to

undergo two important medical surgeries which will severely limit his ability to work on

Defendants-Counterclaimants' summary judgment motions and Defendants-Counterclaimants'

answering and reply papers;



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  See Order (ECF No. 64), Marvel Characters, Inc. v. Lieber, No. 1:21-cv-07955-LAK
(S .D.N .Y.); Order (ECF No. 59), Marvel Characters, Inc. v. Ditko, No . I :2 l-cv-07957-LAK
(S .D.N.Y.) ; Order (ECF No. 62), Marvel Characters, Inc. v. Dettwiler, No. 1:21-cv-07959-LAK
(S.D.N.Y.).

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       WHEREAS, in light of Mr. Toberoffs forthcoming medical surgeries, Defendants-

Counterclaimants have asked Marvel to agree to a two-week extension of the deadline to file

motions for summary judgment;

       WHEREAS, Marvel has advised Defendants-Counterclaimants that it agrees to the

requested extension subject to approval of the Court;

       WHEREAS, the Parties further agree to a two-week extension of the deadlines to file

oppositions to the motions for summary judgment and to file reply papers;

       WHEREAS, the Parties further agree to defer any motions regarding the right to a jury

trial in the above-referenced cases until after the Court has ruled on the Parties' cross-motions

for summary judgment;

       WHEREAS, recognizing that the Third Scheduling Order states that no further

extensions will be permitted, these modifications will not meaningfully delay the overall

progress of the case and may actually increase the efficient progression of the case.

       Based on the foregoing, IT IS HEREBY STIPULATED by and between the Parties,

through their respective counsel of record, subject to the Court' s approval, that:

        1.      The deadline to submit motions for summary judgment shall be continued to May

                 19, 2023.

       2.       The deadline to submit oppositions to motions for summary judgment shall be

                continued to June 16, 2023.

       3.       The deadline to submit replies in support of motions for summary judgment shall

                be continued to July 7, 2023 .

       4.       Any motion regarding entitlement to a jury trial will be litigated, if necessary,

                after the Court rules on the forthcoming cross-motions for summary judgment.




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Dated: April 25 , 2023              O'MELVENY & MYERS LLP


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Dated: April 25 , 2023              TOBEROFF & ASSOCIATES, P.C.


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